Michael Schwartz

From:                                            Lang, Robert H. < RHLang@thompsoncoburn.com>
Sent:                                            Sunday, September 15, 2019 4:07 PM
To:                                              Michael Schwartz
Cc:                                              Dan Childers
Subject:                                         VeroBiue/Cassels Brock



Counsel-we need an extension to respond to Defendants' interrogatories and document requests, to October 1,
2019. Thank you for your anticipated courtesy.




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